            Case 1:15-cv-00701-JWF Document 229 Filed 04/12/24 Page 1 of 2



UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
------------------------------------------------------------------X
DOUGLAS J. HORN and CINDY HARP-HORN,
                                                                       Civil Action No: 15-cv-701 (JWF)
                                   Plaintiffs,

                          -against-                                    NOTICE OF SUBPOENA

MEDICAL MARIJUANA, INC.,
DIXIE ELIXIRS AND EDIBLES,
RED DICE HOLDINGS, LLC, and
DIXIE BOTANICALS,

                                    Defendants,
-------------------------------------------------------------------X

                                          NOTICE OF SUBPOENA

        PLEASE TAKE NOTICE that, pursuant to Rule 45 of the Federal Rules of Civil

Procedure, Plaintiff by and through his attorneys, THE LINDEN LAW GROUP, P.C. served the

attached subpoena on TAMAR WISE, on or about February 6, 2024, requesting that she appear at

the time, date, and place set forth below to testify at the trial of this civil action. A copy of the

subpoena served is attached.

DATED:         New York, New York
               April 12, 2024
                                                     THE LINDEN LAW GROUP, P.C.
                                                     Jeffrey Benjamin
                                                     Jeffrey Benjamin, Esq.
                                                     250 Park Avenue, 7th Floor
                                                     New York, New York 10177
                                                     (212) 655-9536
To: All parties via ECF
                      Case 1:15-cv-00701-JWF Document 229 Filed 04/12/24 Page 2 of 2
AO 88 (Rev. 06/09) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                        Western District
                                                       __________        of New
                                                                  District       York
                                                                            of __________

                          Douglas Horn                                          )
                               Plaintiff                                        )
                                  v.                                            )           Civil Action No. 15-701
                Medical Marijuana Inc., et al.                                  )
                              Defendant                                         )

                                              SUBPOENA TO APPEAR AND TESTIFY
                                           AT A HEARING OR TRIAL IN A CIVIL ACTION

To: Tamar Wise
     PO Box 245
     Lowgap, NC 27024-9998
         YOU ARE COMMANDED to appear in the United States district court at the time, date, and place set forth below
to testify at a hearing or trial in this civil action. When you arrive, you must remain at the court until the judge or a court
officer allows you to leave. If you are an organization that is not a party in this case, you must designate one or more
officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about the following
matters, or those set forth in an attachment:
Among others, the sourcing, formulation, manufacture, content, distribution, promotion, marketing and/or advertising of
the subject Dixie product at the time of provision to the plaintiff in question.


Place: US District Court, Western District                                                  Courtroom No.: TBD
         2 Niagara Square
         Buffalo, Ny 14202
                                                                                            Date and Time: 05/28/2024 10:00 am

          You must also bring with you the following documents, electronically stored information, or objects (blank if not
applicable):




         The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Fed.
R. Civ. P. 45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing
so, are attached.



Date:       02/06/2024
                                   CLERK OF COURT
                                                                                                OR

                                                                                                             /s/ Jeffrey Benjamin, Esq.
                                            Signature of Clerk or Deputy Clerk                                    Attorney’s signature



The name, address, e-mail, and telephone number of the attorney representing (name of party)                               Jeffrey Benjamin
                        for Plaintiff                            , who issues or requests this subpoena, are:
THE LINDEN LAW GROUP, P.C., 250 Park Avenue, 7th Floor, New York, New York 10177 (212) 655-9536
